 Case 2:23-cr-00599-MCS Document 66 Filed 04/01/24 Page 1 of 4 Page ID #:1108



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10   Attorneys for Robert Hunter Biden
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13                        UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES                               Case No. 2:23-CR-00599-MCS-1
16                      Plaintiff,               Hon. Mark C. Scarsi
17          vs.                                  DEFENDANT’S NOTICE OF
                                                 MOTION AND MOTION FOR
18   ROBERT HUNTER BIDEN,                        LEAVE TO FILE A
                                                 SUPPLEMENTAL MEMORANDUM
19                      Defendant.               AND DECLARATION IN SUPPORT
                                                 OF DEFENDANT’S PRETRIAL
20                                               MOTIONS
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           DEFENDANT’S NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE A SUPPLEMENTAL
           MEMORANDUM AND DECLARATION IN SUPPORT OF DEFENDANT’S PRETRIAL MOTIONS
                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 66 Filed 04/01/24 Page 2 of 4 Page ID #:1109



 1                         NOTICE OF MOTION AND MOTION
 2   TO: SPECIAL COUNSEL DAVID WEISS, PRINCIPAL SENIOR ASSISTANT
 3   SPECIAL COUNSEL LEO J. WISE, SENIOR ASSISTANT SPECIAL COUNSEL
 4   DEREK E. HINES
 5         PLEASE TAKE NOTICE that Defendant Robert Hunter Biden, by and through
 6   his attorneys of record, will, and hereby does, respectfully move this Court for an order
 7   granting Mr. Biden’s leave to file a Supplemental Memorandum and Declaration by
 8   Abbe David Lowell in support of Mr. Biden’s pretrial motions. A true and correct copy
 9   of the supplemental memorandum is attached as Exhibit 1. A true and correct copy of
10   the Declaration of counsel is attached as Exhibit 2. Mr. Biden’s proposed supplemental
11   filing is intended to address three questions raised by the Court during the March 27,
12   2024 hearing, and to assist the Court in deciding whether to grant the relief requested
13   by Mr. Biden.
14         Mr. Biden’s counsel contacted the prosecution, via electronic mail, on March 29,
15   2024, at 10:05 AM EST, explaining that Mr. Biden intends to file a brief supplemental
16   pleading and declaration with the Court and inquiring as to the prosecution’s position.
17   See Declaration of Abbe David Lowell (Exhibit 2) at ¶ 69. As of the time of this filing
18   on April 1, 2024, the prosecution has not responded.
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21
     Dated: April 1, 2024                    Respectfully submitted,
22
                                             WINSTON & STRAWN LLP
23
24                                           By: /s/ Angela M. Machala
                                                Angela M. Machala (SBN: 224496)
25                                              Abbe David Lowell
                                                Christopher D. Man
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27                                               Attorneys for Robert Hunter Biden
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           DEFENDANT’S NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE A SUPPLEMENTAL
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                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 66 Filed 04/01/24 Page 3 of 4 Page ID #:1110



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2                                     INTRODUCTION
 3         On March 27, 2024, the Court heard arguments on Mr. Biden’s pretrial motions
 4   to dismiss the Indictment. In the course of the hearing, the Court asked Mr. Biden’s
 5   counsel questions and indicated the record may be incomplete. Pursuant to that, Mr.
 6   Biden seeks leave of the Court to file a supplemental memorandum and declaration, to
 7   address the Court’s questions and complete the record.
 8                                        ARGUMENT
 9         Good cause exists for granting Mr. Biden leave to file this supplemental
10   memorandum and declaration. This filing directly addresses questions and concerns
11   raised by the Court during the March 27, 2024 hearing and will complete the record by
12   attaching documents and publicly available news articles that are referenced in the
13   already-briefed pleadings and arguments but not themselves part of the record. This
14   supplemental filing would not prejudice the prosecution in any way as this information
15   was included in Mr. Biden’s pleadings or arguments presented to the Court on March
16   27, 2024. In his March 29 email to the prosecution asking for its position on this filing,
17   Mr. Biden’s counsel informed the prosecution that Mr. Biden would agree to a response,
18   if the prosecution would like to do so.
19         For these reasons, Mr. Biden hereby respectfully request that this Court grant him
20   leave to file the Supplemental Memorandum and Declaration of Abbe David Lowell,
21   attached hereto as Exhibits 1 and 2, respectively.
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23   Date: April 1, 2024                       Respectfully submitted,
24                                             By: /s/ Angela M. Machala
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                                               AMachala@winston.com
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                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 66 Filed 04/01/24 Page 4 of 4 Page ID #:1111



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